            Case 2:15-cv-05853-MMB Document 82 Filed 10/22/20 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

ARTHUR BEDROSIAN,                      )
                                       )
         Plaintiff,                    )                Case No. 2:15-cv-05853
                                       )
         v.                            )
                                       )
UNITED STATES OF AMERICA, et al.,      )
                                       )
         Defendants.                   )
______________________________________ )


                        NOTICE OF SUPPLEMENTAL AUTHORITY

       The United States files this notice of supplemental authority to bring to the attention of

the Court a recent decision by the Fourth Circuit Court of Appeals in United States v. Horowitz,

No. 19-1280, 2020 WL 6140674 (4th Cir. Oct. 20, 2020) (to be published). In this decision, the

Fourth Circuit opines on the kind of conduct that equates to a reckless disregard of the duty to

report foreign bank accounts. This is a question currently before this Court on remand. A pre-

publication copy of the Fourth Circuit’s opinion is attached to this filing.

       In the lower court ruling on appeal to the Fourth Circuit, the U.S. District Court for the

District of Maryland had concluded on the basis of cross-motions for summary judgment that the

Horowitzes had “willfully violated” the requirement to report their foreign accounts because the

undisputed facts established that their conduct was objectively recklessly. See Op. at 3.

       //



       //




                                                  1

                                                                                             19189599.1
          Case 2:15-cv-05853-MMB Document 82 Filed 10/22/20 Page 2 of 2




         In affirming the district court’s ruling, the Fourth Circuit (a) rejected the Horowitzes’

contention that they could not be found liable without a trial as to their willfulness; (b) explained

why objective recklessness suffices for a finding of willfulness in the civil context; and (c)

identified what facts demonstrated that the Horowitzes were objectively reckless. See Op. at 12,

16-19.

Dated: October 22, 2020                                Respectfully submitted,

                                                       RICHARD E. ZUCKERMAN
                                                       Principal Deputy Assistant Attorney General

                                                       /s/ Nishant Kumar
                                                       NISHANT KUMAR
                                                       Trial Attorney, Tax Division
                                                       U.S. Department of Justice
                                                       Post Office Box 227
                                                       Washington, DC 20044
                                                       Tel: (202) 514-2986
                                                       Fax: (202) 514-6866
                                                       Nishant.kumar@usdoj.gov


                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 22, 2020, I electronically filed the foregoing notice with

the Clerk of the Court using the CM/ECF system.


                                                       /s/ Nishant Kumar
                                                       NISHANT KUMAR
                                                       Trial Attorney, Tax Division
                                                       U.S. Department of Justice
                                                       Post Office Box 227
                                                       Washington, DC 20044
                                                       Tel: (202) 514-2986
                                                       Fax: (202) 514-6866
                                                       Nishant.kumar@usdoj.gov




                                                  2
                                                                                                 19189599.1
